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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,

      Plaintiff,
v.                                            ORDER
                                              Crim. No. 06-211(2)(MJD/AJB)
Eric Dion Davis,

      Defendant.

___________________________________________________________

      This matter is before the Court upon Defendant’s pro se motion to dismiss

for ineffective assistance of counsel. The Court has reviewed Defendant’s

submission and the record, files and proceedings herein. Based on that review,

      IT IS HEREBY ORDERED that the Defendant’s pro se motion to dismiss for

ineffective assistance of counsel [Doc. No. 96] is DENIED.

Date: December 18, 2006



                                              s / Michael J. Davis
                                              Michael J. Davis
                                              United States District Court
